                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

       UNITED STATES OF AMERICA                         )
                                                        )
                       vs.                              ) Case No. 3:12-CR-239
                                                        )
       JOHN WAYNE PERRY, JR. (11)                       )
       _________________________________                )


                                              ORDER


       THIS MATTER is before the Court sua sponte. The Court previously continued the trial

of Defendant Perry until June 16, 2014 (Doc. No. 484). Since that time, and due to further

continuances and scheduling changes with respect to other defendants in this case, the

Government has requested that the trial of Defendant Perry be moved up one week, to begin on

June 9, 2014. The Government has informed the Court that counsel for Defendant Perry consents

to this scheduling change. In making this determination, the Court has considered the

requirements of 18 U.S.C. § 3161(h)(7)(A), as well as the factors in 18 U.S.C. § 3161(h)(7)(B),

and finds that the ends of justice are served by continuing this matter and that such action

outweighs the interest of the public and the Defendant to a speedy trial.

       THEREFORE, IT IS ORDERED that the trial of Defendant Perry will be rescheduled to

June 9, 2014 at 10 a.m. in Courtroom 3 in the Charlotte Division.

SO ORDERED.
                                        Signed: March 11, 2014




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